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                            Exhibit 14
                  Declaration of Eden Shemuelian
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  From: UCLA BruinALERT <                       >
  Date: Tue, Apr 30, 2024 at 4:25 PM
  Subject: BruinALERT: Campus Activity Updates (April 30th at 4:25PM)
  To:                                  <                                      >



  BruinALERT: Access to Royce Hall is now closed through Friday. Alternate locations are
  being identified as options for classes taking place in Royce. Instructors will inform students
  about further information regarding class location. Faculty should reach out to their
  departments for possible classroom reassignments.

  Powell Library will close at 5 p.m. today, Tuesday, and reopen on Monday. Other library
  spaces across campus remain open at their regular hours. Alternative study spaces are
  available via UCLA Library.

  Non-academic staff who usually work in these buildings should plan to work remotely.

  Student affairs representatives, along with signage, are stationed near Royce Quad to let
  Bruins and visitors know about the encampment and closed buildings, redirect them if
  desired and serve as a resource for their needs. We have also enhanced security measures
  and increased the numbers of our safety team members on site, including our uniformed
  Student Affairs Mitigators (SAMs), Public Safety Aides (PSAs), CSC and law enforcement
  officers.

  For more information about emergencies at UCLA, please visit https://bso.ucla.edu/.




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